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                             UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF IDAHO


 UNITED STATES OF AMERICA,                        Case No. 1:22-cr-00104-DCN

                Plaintiff,                        UNOPPOSED MOTION TO CONTINUE
                                                  SENTENCING
        vs.

 NICHOLAS JONES,

                Defendant.



       The United States of America, by and through Joshua D. Hurwit, United States Attorney

for the District of Idaho, and Rosaleen T. O’Gara and Nicole R. Lockhart, Trial Attorneys for the

Public Integrity Section of the Criminal Division of the United States Department of Justice,

hereby move this Court, pursuant to Federal Rule of Criminal Procedure 32(b), to continue the




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sentencing in this case, currently scheduled for September 27, 2022, until at least October 19,

2022. This is the Government’s first request for a continuance of the sentencing.

        This joint motion is based upon the following grounds:

        1.       The sentencing in this case is currently scheduled for 10:00 a.m. on September 27,

2022.

        2.       Counsel for the Government has conflicts with this setting, including that the

United States Attorney is scheduled to be out of town on business.

        3.       On September 2, 2022, counsel for the Government contacted counsel for the

Defendant, who responded that the Defendant had no objection to the Government’s continuance

request.

        4.       On September 2, 2022, counsel for the Government also contacted the Court’s

staff, who indicated that October 19, 2022 would be the earliest available date for resetting the

sentencing.

        5.       Accordingly, the parties respectfully request the Court to continue the sentencing

in this matter until October 19, 2022 or thereafter at the Court’s convenience.

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    Respectfully submitted this 6th day of September, 2022.


                                             /s/ Joshua D. Hurwit
                                             JOSHUA D. HURWIT
                                             United States Attorney

                                             COREY R. AMUNDSON
                                             CHIEF, PUBLIC INTEGRITY SECTION

                                             By:

                                             /s/ Rosaleen T. O’Gara
                                             ROSALEEN T. O’GARA
                                             NICOLE R. LOCKHART
                                             Trial Attorneys




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                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on September 6, 2022, the foregoing MOTION TO

CONTINUE SENTENCING was electronically filed with the Clerk of the Court using the

CM/ECF system, and that a copy was served on the following parties or counsel by:

 Mike French                                      United States Mail, postage prepaid
 Bartlett & French PLLP                           Fax
 1002 W. Franklin Street
 Boise, ID 83702                                  ECF filing
 mike@bartlettfrench.com                         Email




                                                  /s/ Brandi Fifer
                                                  Legal Assistant




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